  Case 18-51115             Doc 15        Filed 02/06/19 Entered 02/06/19 16:08:00                     Desc Main
                                            Document     Page 1 of 2




SIGNED THIS 6th day of February, 2019


THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




                                    UNITED STATES BANKRUPTCY COURT
                                  FOR THE WESTERN DISTRICT OF VIRGINIA



    In re: ANTOINE BOULOS TAHAN,                                 CASE NO.      18-51115

             Debtor(s)                                           CHAPTER 13

                               ORDER DISMISSING CASE WITH RESTRICTIONS

      Upon notice and hearing to consider whether to dismiss this case and impose conditions and for good cause
shown, it is

                                                          ORDERED

that this case and all related pending motions and adversary proceedings arising therein, unless on appeal, are hereby
DISMISSED. Pursuant to 11 U.S.C. § 349, it is further

                                                          ORDERED

that Antoine Boulos Tahan is hereby prohibited from filing a new petition in this Court under any Chapter
for a period of one year from the date of this Order. It is further

                                                          ORDERED

that upon the trustee filing a final report herein, the same shall be deemed approved without further order. The
trustee's bond shall be released and the trustee discharged from further liability herein unless proper objection is
made to said final report within thirty (30) days after filing of same or such extended time as may be granted upon
proper application made within said thirty (30) day period. If the Discharge Order has been issued, the same is
rescinded.

        If the case is a Chapter 13 case, it is further

                                                          ORDERED




                                                             1
VAN03
  Case 18-51115            Doc 15        Filed 02/06/19 Entered 02/06/19 16:08:00                       Desc Main
                                           Document     Page 2 of 2

that the employer, if heretofore ordered to do so, shall cease making deductions from debtor(s)' wages to be paid to
the trustee.

        Service of a copy of this Order shall be by mail to the debtor(s), attorney for the debtor(s), trustee,
employer, if applicable, U.S. Trustee, and all parties on the current mailing matrix.


                                               ***END OF ORDER***




                                                            2
VAN03
